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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                         MDL NO. 2924
    PRODUCTS LIABILITY                                                  20-MD-2924
    LITIGATION
                                                     JUDGE ROBIN L. ROSENBERG
                                            MAGISTRATE JUDGE BRUCE E. REINHART
    THIS DOCUMENT RELATES TO:
    State of New Mexico, ex rel.
    Hector H. Balderas, Attorney General
    v. GlaxoSmithKline, et al.
    Case No. 20-cv-82312-RLR




                THE STATE OF NEW MEXICO’S MOTION TO REMAND AND
                       INCORPORATED MEMORANDUM OF LAW
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           The State of New Mexico, by its Attorney General Hector H. Balderas (“State”), pursuant

    to 28 U.S.C. § 1447 and 28 U.S.C. § 1331, moves this Court for remand to the First Judicial

    District Court, County of Santa Fe, because Defendants have failed to show any basis for federal

    question jurisdiction.

                                          INTRODUCTION
           The State brought this action in New Mexico state court on its own behalf and pursuant to

    its inherent parens patriae authority to remedy Defendants’ violations of state law and the harm

    to its residents caused by Defendants’ toxic Zantac/ranitidine products. The State’s Complaint

    seeks no relief under federal law, and in fact, expressly and definitively disavows any claims

    arising under federal law. 1 Where, as here, a State sues in State court under the laws of that

    State, the State’s sovereign protections against removal protects the State unless a “clear rule

    demands” removal. Franchise Tax Bd. v. Constr. Laborers Vacation Tr., 463 U.S. 1, 21 n.22

    (1983). Thus, the issue here is whether a clear rule justifies Defendants’ removal. The answer is

    no.

           Federal courts adjudicating nearly identical removal arguments, including federal courts

    in Florida and New Mexico, have held no federal question jurisdiction exists under the facts and

    controlling law here. Defendants try in vain to fabricate a federal question by characterizing the

    State’s claims as “depend[ing] on the application and construction of federal law” (Notice at

    pp. 4-10), requiring the State to prove that Defendants violated federal laws and regulations (Id.

    at pp. 10-13), and requiring analysis of the scope of New Mexico’s discretion under its Medicaid

    program. Id. at pp. 13-17. Because the State—as the master of its Complaint—has explicitly

    1
      See Case No. 1:20-cv-00833-KWR-LF (D. N.M.) Dkt #1-1 (“Compl.”) ¶¶ 7, 8, 156, 157; see
    also id. ¶¶ 229, 302, 304, 306, 308, 310, 312, 314, 316, 318, 320, 323, 326, 328, 330, 332, 334,
    336.




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    pled only state law claims, Defendants’ effort to recast the allegations as federal in nature must

    fail. The State respectfully asks this Court to remand this action to state court where it belongs.

                                            BACKGROUND
           The State sued Defendants in state court to recover civil penalties, nuisance abatement,

    damages, and other relief associated with the extremely unsafe levels of toxic, carcinogenic N-

    Nitrosodimethylamine     (“NDMA”)       contained in     Zantac/ranitidine products that       were

    manufactured, designed, distributed, supplied, marketed, promoted, advertised and/or sold by

    Defendants for decades to New Mexico residents. The State also brings this action to remedy

    Defendants’ violations of law and the harm caused to its residents by creating a statewide health

    monitoring program designed to detect and assess medical disorders associated with use of

    Zantac/ranitidine. Compl. ¶¶ 7, 278, 367, 368, 374, 375, 378-381, 384-388.

           All of the five causes of action pled in the State’s Complaint arise under New Mexico

    statutory and common law. 2 Moreover, the Complaint clearly explains that the State is not

    relying on any federal causes of action or statutes for any claim. Compl. ¶¶ 8, 157. In addition,

    as to each of the Generic Manufacturer Defendants and Store Brand Defendants, the State

    explains that no claims are asserted based on “the adequacy of [those Defendants’] warnings or

    the fairness of [their] marketing statements,” removing any doubt as to the applicability of

    federal law defenses with respect to claims against generic pharmaceutical manufacturers.


    2
      Count I is a cause of action for violations of the New Mexico Unfair Practices Act
    (“NMUPA”), NMSA 1978, §§ 57-12-1 to -26 against the Brand Manufacturer Defendants;
    Count II is a cause of action for violations of the New Mexico False Advertising Act (“FAA”),
    NMSA 1978, §§ 57-15-1 to -10 against the Brand Manufacturer Defendants; Count III is a cause
    of action for violations of the New Mexico Public Nuisance Statute, NMSA 1978, §§ 30-8-1 to -
    14 against all Defendants; Count IV is a cause of action for public nuisance pursuant to New
    Mexico common law against all Defendants; and Count V is a cause of action for negligence
    under New Mexico common law against all Defendants. See Compl. at pp. 91-105.




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    Compl. ¶¶ 7, 8, 156, 157; see also id. ¶¶ 299, 302, 304, 306, 308, 310, 312, 314, 316, 318, 320,

    323, 326, 328, 330, 332, 334, 336.

           In short, the Notice of Removal’s representations—that “[f]ederal question jurisdiction

    exists over this claim [Count I] because it facially depends on the resolution of at least two

    overarching and substantial federal questions (Notice ¶ 17),” and Defendants’ arguments as to

    the existence of federal question jurisdiction over all of the State’s claims—are simply wrong.

                                         LEGAL STANDARDS
           Courts presume that federal jurisdiction does not exist over a removed case unless the

    defendant can affirmatively show otherwise. “Federal courts are courts of limited jurisdiction.

    They possess only that power authorized by the Constitution and statute . . . which is not to be

    expanded by judicial decree.” Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 377 (1994)

    (citation omitted); State of New Mexico ex rel. Balderas v. Preferred Care, Inc., 158 F. Supp. 3d

    1226, 1229 (D.N.M. 2015) (quoting Gunn v. Minton, 568 U.S. 251, 256 (2013)); Univ. of S.

    Alabama v. Am. Tobacco Co., 168 F.3d 405, 410 (11th Cir. 1999)(citations omitted) (explaining

    “once a federal court determines that it is without subject matter jurisdiction, the court is

    powerless to continue”). “[I]t is to be presumed that a cause lies outside this limited jurisdiction

    and the burden of establishing the contrary rests upon the party asserting jurisdiction.”

    Kokkonen, 511 U.S. at 377; Adventure Outdoors, Inc. v. Bloomberg, 552 F.3d 1290, 1294-95

    (11th Cir. 2008). Removal statutes are strictly construed, and ambiguities must be resolved in

    favor of remand. See Syngenta Crop Prot., Inc. v. Henson, 537 U.S. 28, 32 (2002) (citations

    omitted); see also Purdue Pharma L.P. v. Kentucky, 704 F.3d 208, 213 (2d Cir. 2013); Pacheco

    de Perez v. AT&T Co., 139 F.3d 1369, 1373 (11th Cir. 1998) (citations omitted). Simply put,

    “all doubts about jurisdiction should be resolved in favor of remand to state court.” Univ. of S.

    Alabama, 168 F.3d at 411 (citations omitted). Because federal courts are courts of limited


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    jurisdiction, the Eleventh Circuit has ruled that courts must deny such jurisdiction if not

    affirmatively apparent on the record. Murphy v. Secretary, U.S. Dep’t of Army, 769 Fed. Appx.

    779, 782 (11th Cir. 2019) (citing United States v. Rojas, 429 F.3d 1317, 1320 (11th Cir. 2005)).

    Defendants seeking removal must establish federal court jurisdiction is proper “by a

    preponderance of the evidence.” In re Terazosin Hydrochloride Antitrust Litig., No. 99-MDL-

    1317-SEITZ/BANDSTRA, 2003 WL 27387399, at *1 (S.D. Fla. Jan. 9, 2003) (citing Sierminski

    v. Transouth Fin’l Corp., 216 F.3d 945, 947-48 (11th Cir. 2000)).

           These strict restrictions, applicable to all attempts to remove state-court actions to federal

    court, are heightened where, as here, the action is brought by a State sovereign. In such cases,

    “considerations of comity make [courts] reluctant to snatch cases which a State has brought from

    the courts of that State, unless some clear rule demands it.” Franchise Tax Bd., 463 U.S. at 21

    n.22; see also State of W. Va. Ex rel. McGraw v. CVS Pharm., Inc., 646 F.3d 169, 179 (4th Cir.

    2011); State of Nevada v. Bank of Am. Corp., 672 F.3d 661, 676 (9th Cir. 2012)); City of Arab v.

    Arab Elec. Co-op, Inc., No. CV-92-N-0379-M, 1992 WL 695226, at **1-3 (N.D. Ala. July 6,

    1992) (holding the court lacked subject matter jurisdiction over the action where the plaintiff

    municipalities’ claims were based on Alabama law and the plaintiffs had merely anticipated a

    federal defense). When a state attorney general “alleges only state law causes of action, brought

    to protect” its state residents, then “the ‘claim of sovereign protection from removal arises in its

    most powerful form.’” Bank of Am., 672 F.3d at 676 (quoting CVS Pharm., 646 F.3d at 178).

                                              ARGUMENT
    I.     DEFENDANTS CANNOT OVERCOME THE PRESUMPTION AGAINST
           REMOVAL JURISDICTION

           Defendants’ removal is based entirely on mischaracterizations of the State’s Complaint—

    a familiar but ineffective tactic that does not carry the heavy burden necessary to justify removal.



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    Here, Defendants must bear a double burden: they must satisfy the strict removal standard

    applicable in all cases and also clear the still higher hurdle applicable where, as here, the removal

    implicates State sovereignty. As a matter of settled, controlling precedent, Defendants must

    overcome the presumption against removal, demonstrate the propriety of federal removal

    jurisdiction beyond doubt, and identify a “clear rule” overriding New Mexico’s sovereignty.

    Defendants’ misconstruction of the causes of action actually pled by the State does not come

    close to satisfying these removal standards.

           The issue presented by this motion is whether Defendants have carried their substantial

    burden of demonstrating that a clear rule exists such as to dispel any doubt but that the removal

    is entirely proper. Defendants have failed to carry this burden.

           A.      The State’s Complaint Does Not Necessarily Raise A Substantial Federal
                   Question
           “‘[T]he plaintiff is the master of the claim and may prevent removal by choosing not to

    plead an available federal claim.’” Penelas v. Arms Tech., Inc., 71 F. Supp. 2d 1251, 1253 (S.D.

    Fla. 1999) (quoting BLAB T.V. of Mobile, Inc. v. Comcast Cable Commc’ns, Inc., 182 F.3d 851,

    854 (11th Cir. 1999)). A case arises under federal law, and “thus may be removed based on

    federal question jurisdiction only when the plaintiff’s statement of his own cause of action shows

    that it is based on federal law.” Id. This “longstanding” doctrine, known as the “well-pleaded

    complaint rule,” protects against the improper removal of state-law claims to federal court.

    Vaden v. Discover Bank, 556 U.S. 49, 60 (2009). Pursuant to the rule, “the plaintiff [is] master

    of the claim; he or she may avoid federal jurisdiction by exclusive reliance on state law.”

    Caterpillar, 482 U.S. at 392. In Louisville & Nashville R.R. v. Mottley, an early-20th century

    case, the Supreme Court made clear that, “a suit arises under the Constitution and laws of the

    United States only when the plaintiff’s statement of his own cause of action shows that it is



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    based upon those laws or that Constitution.” 211 U.S. 149, 152 (1908). Thus, Defendants’

    contention that the State’s Complaint should be interpreted to mean the opposite of what it says

    is belied by over a century of controlling precedent.

           To establish removal jurisdiction under the substantial federal question test, Defendants

    must satisfy four criteria: the purported federal issue is “(1) necessarily raised, (2) actually

    disputed, (3) substantial, and (4) capable of resolution in federal court without disrupting the

    federal-state balance approved by Congress.” Gunn, 568 U.S. at 258. The Supreme Court has

    emphasized that removal jurisdiction under this standard will exist in “only extremely rare

    exceptions,” in a “special and small,” “slim category” of cases that arise under federal law

    without federal law creating the cause of action.       Id. at 258 (internal quotation omitted).

    Relevant here, defense theories that may require analysis or resolution of federal issues

    categorically cannot support removal jurisdiction. Caterpillar, 482 U.S. at 399.

           Defendants concede that removal of state-law claims is only appropriate where such

    claims “‘turn on substantial questions of federal law,’” that is, where “‘the plaintiff’s right to

    relief necessarily depends on resolution of a substantial question of federal law.’” Notice ¶ 14

    (quoting Grable & Sons Metal Prods. v. Darue Eng’g & Mfg., 545 U.S. 308 (2005); Nicodemus

    v. Union Pac. Corp., 440 F.3d 1227, 1232 (10th Cir. 2006)) (emphasis added)). Thus, to avoid

    remand, Defendants admit they must demonstrate (and not merely allege) that the State’s

    entitlement to relief necessarily depends upon the resolution of some substantial question of

    federal law. Defendants cannot do so. At most, federal laws or regulations may be relevant to

    assessing Defendants’ compliance (or lack thereof) with New Mexico law, which parallel certain

    federal requirements. Therefore, it is not “necessary” to any claim asserted by the State to

    resolve any issue of federal law. Even if Defendants could establish the contrary (which they




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    cannot), they must then satisfy a series of further requirements—including showing that the

    purported federal questions invoked are important to the federal system as a whole and that the

    balance of the state and federal interests requires submitting this case to a federal court—to avoid

    remand. Defendants cannot make these indispensable additional showings.

           In the Notice, Defendants allege the State’s Unfair Practices Act (“NMUPA”) claim

    raises federal questions concerning “whether the Defendants’ conduct was ‘expressly permitted’

    by the federal government” and “whether the Defendants violated federal law during the

    Zantac/ranitidine approval process or thereafter in manufacturing, marketing, labeling, storing,

    distributing, advertising, and/or selling Zantac/ranitidine … to a degree that would have led the

    federal government to revoke or alter its ‘express permission.’” Notice ¶ 17. With respect to the

    State’s public nuisance claims, Defendants allege that those claims “depend on resolving

    whether the Defendants violated federal law during the Zantac/ranitidine approval process or at

    any point after the medication was approved and available to patients.” Id. ¶ 18. With respect to

    the State’s negligence claim, Defendants allege that it “necessarily depends on the resolution of

    substantial issues of federal law regarding the scope of New Mexico’s discretion under the

    federal Medicaid program.” Id. ¶ 47. None of these allegations is sufficient to overcome the

    well-pleaded complaint rule and to show that any of the State’s claims raises a substantial federal

    question.

                   1.      The State Has Disavowed Any Federal Claim.

           As a threshold matter, it is undisputed that the State has pleaded no claim directly under

    any federal statute or regulation, and has expressly disavowed any federal claim. See Compl.

    ¶¶ 8, 157. Defendants cite to various federal statutes and regulations, such as the Food, Drug,

    and Cosmetic Act (“FDCA”) and FDA approval regulations (e.g., 21 U.S.C. § 355; 21 C.F.R.

    § 314.50; 21 C.F.R. Part 201), as supplying the requisite foundation for federal jurisdiction.


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    Defendants concede that no such federal statute or regulation creates any of the State’s causes of

    action. Indeed, neither the FDCA nor the various regulations cited by Defendants provide for a

    right of action at all, rendering any such argument illusory. See, e.g., Crook-Petite-el v. Bumble

    Bee Foods L.L.C., 723 Fed. Appx. 974, 974 (11th Cir. 2018)(concluding the district court did not

    err in dismissing the complaint where it lacked subject matter jurisdiction because the plaintiff

    and the defendant were citizens of the same state and because the FDCA does not provide for a

    private cause of action); Jackson v. Purdue Pharma Co., No. 6:02-CV-1428ORL19KRS, 2003

    WL 21356783, at *6 & n.6 (M.D. Fla. Apr. 11, 2003) (citing several decisions involving the

    same corporate defendants and factually similar claims where removal jurisdiction on the federal

    question basis was denied). Instead, they maintain only that such federal statutes and regulations

    constitute an essential element of the State’s NMUPA, nuisance, and/or negligence claims,

    despite the State’s own pleading to the contrary. As shown below, Defendants are incorrect.

                   2.     The State’s NMUPA Claim Does Not Depend Upon Resolution Of
                          Any Question Of Federal Law.

           Defendants characterize the purported federal issues at stake in the State’s NMUPA claim

    as whether the conduct at issue was “expressly permitted” by the FDA and whether that conduct

    violated FDA approval standards. These issues are not “necessarily raised” as an element of the

    NMUPA claim. They are simply defense theories that certain Defendants may elect to raise and

    cannot support removal jurisdiction.

           Where a plaintiff can prevail on a claim by showing that defendants violated state law

    duties—even where such state law duties parallel federal law duties, and where evidence of

    breaches of federal duties may be marshalled to support the claim for violations of state law

    duties—there is no “necessarily raised” federal issue. Jairath v. Dyer, 154 F.3d 1280, 1281-84

    (11th Cir. 1998) (citations omitted) (finding no federal question jurisdiction even though federal



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    statute allegedly created the duty which served as the basis for the state law claim for breach of

    duty); DCH Health Care Authority v. Purdue Pharma L.P., No. 19-0756-WS-C, 2019 WL

    6493932, at *3 (S.D. Ala. Dec. 3, 2019)(citing Manning v. Merrill Lynch Pierce Fenner &

    Smith, Inc., 772 F.3d 158, 164 (3d Cir. 2014); Christianson v. Colt Indus. Operating Corp., 486

    U.S. 800, 810 (1988)); Adventure Outdoors, Inc., 552 F.3d at 1296-97 (with respect to

    negligence claims, concluding the existence of a legal duty and whether the defendants breached

    that duty could be resolved without applying federal law). Potential defenses to a claim cannot

    give rise to removal jurisdiction. Caterpillar, 482 U.S. at 399.

           To prevail on its NMUPA claim, the State must show that Defendants engaged in “unfair

    or deceptive trade practices” or “unconscionable trade practices.” NMSA 1978, § 57-12-3. The

    State may do so by showing that Brand Manufacturer Defendants made statements regarding the

    safety of their Zantac products that may have, tended to, or actually misled consumers. NMSA

    1978, § 57-12-2(D). The actionable misrepresentation or omission of facts relating to the safety

    of the products, and the NDMA contained therein, in marketing communications directed to

    consumers may be demonstrated without reference to FDA. To be sure, the Brand Manufacturer

    Defendants had duties to disclose and report this adverse information to FDA under the FDCA

    and other regulations. But their violation of the NMUPA is their use of unfair, deceptive, or

    unconscionable statements and omissions with respect to New Mexico consumers.                It is

    hornbook law that the mere fact that federal duties may have evidentiary relevance in

    establishing breaches of state law duties is not sufficient to “necessarily raise” a substantial

    federal question. See, e.g., Jairath, 154 F.3d at 1281-84; State of New Mexico ex rel. Balderas v.

    Purdue Pharma L.P., 323 F. Supp. 3d 1242, 1252 (D.N.M. 2018); Preferred Care, 158 F. Supp.

    3d at 1234 (no federal question raised by NMUPA claim even where “parallel federal” duties




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    may be implicated). As the Supreme Court has instructed, the “mere presence of a federal issue

    in a state cause of action does not automatically confer federal-question jurisdiction.” Merrell

    Dow Pharms. Inc., 478 U.S. 804, 813 (1986). Because federal law violations are only one

    potential avenue of liability, no federal issue is “necessary.” See Bank of Am., 672 F.3d at 675

    (finding no necessary federal question in State plaintiff’s state-law causes of action).

           Moreover, the mere fact that a federal issue could inform a state-law issue is insufficient

    to support removal jurisdiction. See, e.g., Jackson, 2003 WL 21356783, at *5 (explaining

    “removal is improper if based on a defense which implicates federal law”); Purdue Pharma, 323

    F. Supp. 3d at 1252 (although federal law provides criteria for determining pharmaceutical

    companies’ liability, such liability “does not hinge exclusively on federal law”) (emphasis in

    original); State of New Mexico ex rel. King v. Ortho-McNeil-Janssen Pharm., Inc., No. 08-0779

    BB/WDS, 2009 WL 8657144, at **2-3 (D.N.M. Jan. 26, 2009) (rejecting argument that suit

    against pharmaceutical companies necessarily raised substantial federal questions under the

    Medicaid laws or the FDCA); see also MSOF Corp. v. Exxon Corp., 295 F.3d 485, 490 (5th Cir.

    2002) (holding that federal question jurisdiction did not exist where complaint alleged

    “violation[s] of federal regulations as well as … violation[s] of state and local regulations”)

    (citations omitted); PlainsCapital Bank v. Rogers, 715 F. App’x 325, 330 (5th Cir. 2017)

    (“When state law provides an alternative ground for recovery, the federal issue is not

    ‘necessarily raised.’”) (citing Bank of Am., 672 F.3d at 675).

           Undeterred, Defendants maintain that removal is appropriate because potential defenses

    to the NMUPA claim may require such analysis. See Notice ¶ 22 (citing NMSA 1978, Section

    57-12-7), ¶ 37 (citing NMSA 1978, Section 57-12-2(D)). Defendants claim that these sections of




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    the NMUPA necessarily raise federal issues because Defendants intend to defend against the

    claim on these grounds. Defendants are wrong.

           Section 57-12-7 of the NMUPA provides that “actions or transactions expressly

    permitted under laws administered by a regulatory body of … the United States” fall outside the

    scope of the statute. Defendants argue that the mere fact that Zantac products and labels were

    approved by FDA triggers this exemption. However, no statute or regulation (federal or state)

    “expressly permits” a product manufacturer to make representations or omissions about known

    safety risks, such as that a product is safe for consumption despite containing dangerous levels of

    undisclosed carcinogenic substances. Section 57-12-7 has no relevance to this case. But even if

    it did, it is well-settled that federal issues that may arise by virtue of a defense theory are

    insufficient to support removal jurisdiction. Caterpillar, 482 U.S. at 399 (“Congress has long

    since decided that federal defenses do not provide a basis for removal.”); see also id. at 398

    (“The fact that a defendant might ultimately prove that a plaintiff’s claims are pre-empted …

    does not establish that they are removable to federal court.”); Penelas, 71 F. Supp. 2d at 1253

    (internal citations omitted) (recognizing “even a ‘federal defense’ is not a basis for removal’”).

           Section 57-12-2(D) of the NMUPA lends even less support to the Defendants’

    arguments. That section merely defines an “unfair or deceptive trade practice” as, among other

    things, an act “specifically declared unlawful pursuant to the [NMUPA],” providing numerous

    examples of such acts. The NMUPA renders unlawful all “unfair or deceptive trade practices

    and unconscionable trade practices.” NMSA 1978, § 57-12-3. The State has alleged that the

    Brand Manufacturer Defendants have engaged in certain of the specifically enumerated unlawful

    acts. See Compl. ¶¶ 5, 357-363. Defendants nevertheless maintain that removal is appropriate

    because they intend to argue that certain federal regulations confer a “presumption of




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    lawfulness” over their conduct. Notice ¶¶ 40-46. Like any other defense, this one fails to

    support removal because no substantial federal question is “necessarily raised” by the State’s

    claim. See, e.g., Caterpillar, 482 U.S. at 399. Accordingly, the State’s NMUPA claim does not

    necessarily raise any federal issue and removal jurisdiction is lacking.

                   3.      The State’s Public Nuisance Claims Do Not Depend Upon Resolution
                           Of Any Question Of Federal Law.

           Defendants offer an overlapping, and equally faulty, argument concerning the State’s

    statutory and common law public nuisance claims.            Defendants contend that removal is

    appropriate because the State must demonstrate that the alleged misconduct was “unlawful” in

    order to prevail on its public nuisance claims, which, they contend, will in turn require analysis

    of federal prescription and OTC drug approval requirements and procedures. Notice ¶¶ 38-39.

    Of course, this is just another potential defense theory one or more Defendants may elect to raise

    in response to the State’s nuisance claims. The State may establish that certain Defendants’

    conduct was unlawful because it violated the NMUPA (Brand Manufacturer Defendants), and/or

    because such conduct violated New Mexico common law negligence principles or other state-

    law duties (Generic Manufacturer Defendants and Store Brand Defendants). The State may, but

    need not only, utilize federal statutes or regulations in establishing its case in chief on these or

    any other cause of action. A mere defense that turns on federal issues, such as the “presumption

    of lawfulness” defense sketched in the Notice (¶ 43), is insufficient to support removal

    jurisdiction. Caterpillar, 482 U.S. at 399.

                   4.      The State’s Negligence Claim Does Not Depend Upon Resolution Of
                           Any Question Of Federal Law.

           Defendants next argue that the State’s negligence claim gives rise to removal jurisdiction

    because it necessarily raises federal issues concerning the scope of the State’s discretion under

    Medicaid regulations. Notice ¶ 47. Defendants claim that federal regulations impose constraints


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    on the State’s ability to restrict coverage for Zantac/ranitidine prescriptions for Medicaid

    beneficiaries because they are (or were) “covered outpatient drugs.” Id. ¶ 52. The extent to

    which Defendants’ removal arguments deviate from the elements of a common law negligence

    claim under New Mexico law is palpable. A negligence claim requires “the existence of a duty

    from a defendant to a plaintiff, breach of that duty, which is typically based upon a standard of

    reasonable care, and the breach being a proximate cause and cause in fact of the plaintiff’s

    damages.” Herrera v. Quality Pontiac, 2003-NMSC-018, ¶ 6, 134 N.M. 43, 73 P.3d 181. Duty

    “must be decided as a matter of law by the judge, using established legal policy,” such as case

    law, statutes, and other principles of law. Calkins v. Cox Estates, 1990-NMSC-044, ¶ 5, 110

    N.M. 59, 792 P.2d 36; see also Torres v. State, 1995-NMSC-025, ¶ 9, 119 N.M. 609, 894 P.2d

    386. Defendants argue that they may rely on Medicaid regulations to defend against a portion of

    the State’s negligence claim and seek to limit the State’s monetary recovery on the grounds that

    such regulations restrict the State’s discretion in paying for Zantac. Again, this is merely a

    potential defense theory certain Defendants may elect to present in litigating the State’s

    negligence claim. Defenses that turn on federal law are irrelevant and are insufficient to support

    removal jurisdiction. Caterpillar, 482 U.S. at 399. Courts assessing similarly spurious removal

    efforts in actions initiated by state Attorneys General against pharmaceutical companies

    routinely reject this very argument. 3



    3
      See, e.g., Louisiana v. Pfizer, Inc., No. 3:13-CV-00727-BAJ-RL, 2014 WL 3541057, at *7
    (M.D. La. July 17, 2014) (finding that, even if federal Medicaid regulations are relevant to a
    claim, such regulations would merely “serve as background reference for the state law claims”);
    State of Hawaii ex rel. Louie v. Bristol-Myers Squibb Co., No. CIV. 14-00180 HG-RLP, 2014
    WL 3427387, at **12-15 (D. Haw. July 15, 2014) (rejecting, in unfair trade practice suit against
    pharmaceutical company, argument that Medicaid regulations regarding reimbursement are
    relevant or essential to determination of liability under state law); Cnty. of Santa Clara ex rel.
    Marquez v. Bristol Myers Squibb Co., No. 5:12-CV-03256-EJD, 2012 WL 4189126, at *6 (N.D.



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           The State also notes that the U.S. Supreme Court, in Grable itself, explained that a

    negligence claim resting on alleged violations of federal statutes or regulations would be

    insufficient to transform the claim into one in which a federal court would have jurisdiction.

    545 U.S. at 318-19 (observing that, as state law often gives effect of negligence per se to

    violation of federal statutes or regulations, to hold that federal jurisdiction exists simply by virtue

    of alleged violations of federal statutes or regulations would be to engineer an “enormous shift of

    traditionally state cases into federal courts” and open the federal floodgates).

           To support their argument, Defendants rely upon a patent misrepresentation of a

    magistrate report filed in multidistrict litigation concerning the drug Rezulin. See In re Rezulin

    Prods. Liab. Litig., MDL No. 1348, Dkt. No. 3883 (S.D.N.Y. June 27, 2005) (Katz, U.S.M.J.)

    (attached as Exhibit C to Notice) (“Def. Ex. C”).          In that case, the plaintiff had already


    Cal. Sept. 17, 2012) (rejecting, in false advertising suit against pharmaceutical company,
    argument that Medicaid regulations regarding reimbursement are relevant or essential to
    determination of liability under state law); In re Oxycontin Antitr. Litig., 821 F. Supp. 2d 591,
    597-98 (S.D.N.Y. 2011) (finding that Attorney General could prevail on state-law claims seeking
    recovery of Medicaid costs regardless of defense that state discretion to reimburse for
    prescriptions was limited by federal regulation); State of Mississippi ex rel. Hood v. AstraZeneca
    Pharms., LP, 744 F. Supp. 2d 590, 601 (N.D. Miss. 2010) (finding, in case brought by State
    alleging pharmaceutical company violated state law by making false statements regarding its
    drug product, that a substantial federal question was not raised because “Plaintiff’s claims … do
    not focus on the federal aspects of the Medicaid scheme,” but “[r]ather, Defendants’ liability will
    depend upon its breach of duties as defined and created by state law.”); State of South Carolina
    ex rel. McMaster v. Eli Lilly & Co., No. 7:07-cv-1875, 2007 WL 2261693, at *2 (D. S.C. Aug. 3,
    2007) (finding Medicaid issues that may arise in the litigation “incidental” and concluding that
    “Lilly’s liability will solely depend upon its breach of duties as defined and created by state
    law”); Commonwealth of Pennsylvania v. Eli Lilly & Co., 511 F. Supp. 2d 576, 581-82 (E.D. Pa.
    2007) (finding that while Medicaid regulations may inform the litigation, they present no
    legitimate federal issue, and that liability will turn on state common law); State of Missouri ex
    rel. Nixon v. Mylan Labs., Inc., No. 4:06-cv-603, 2006 WL 1459772, at *3 (E.D. Mo. May 23,
    2006) (finding, in case seeking recovery of Medicaid costs incurred for covered outpatient drugs,
    “plaintiffs purely allege violations of state law and the mere fact that some of those claims may
    tangentially encounter some remote, or vague, connection with federal laws, regulations or
    contracts does not create federal question jurisdiction”).




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    abandoned or withdrawn its motion to remand, which the court construed as a “concession by

    Plaintiffs that their claims implicate substantial federal issues in this action which are not

    overridden by any State interest.” Def. Ex. C at 3-4. Apart from noting this concession, the

    Rezulin decision provides no substantive discussion of the issues raised by Defendants’ removal

    effort. To make matters worse, Defendants provide a footnote attempting to distinguish other,

    far more relevant, far more compelling judicial opinions directly on point (such as Louisiana v.

    Pfizer and Hawaii v. Bristol-Myers Squibb), and “submit[] that those cases were wrongly

    decided or were based on theories different from those at issue in this case, and that Judge

    Kaplan’s reasoning in In re Rezulin is the most appropriate to the facts of this case.” Notice, at

    ¶ 56 n.7. Defendants are incorrect for a host of reasons. First, Judge Kaplan merely noted that

    no party objected to Magistrate Judge Katz’s opinion. See In re Rezulin Prods. Liab. Litig., No.

    00 Civ. 2843(LAK), 2006 WL 2041474, at *1 (S.D.N.Y. July 21, 2006) (“The motion to remand

    is denied for the reasons stated in the report and recommendation dated June 28, 2006 to which

    no objection has been filed.”) (also attached as Exhibit B to Notice). Second, unless the State

    were to abandon its remand motion, it is unclear how Magistrate Judge Katz’s opinion has any

    bearing on this case. Third, the Rezulin report’s perfunctory discussion of the defendants’

    arguments (which the plaintiffs conceded by abandoning their motion) is simply threadbare,

    particularly when compared to the lengthy, well-reasoned discussions set forth in the many

    authoritative cases cited in the preceding paragraphs. Defendants’ reliance on Rezulin provides

    no support for their position. 4



    4
      Defendants’ reliance on In re Vioxx Products Liability Litigation, MDL No. 1657, 2010 WL
    2649513, at **9-18 (E.D. La. June 29, 2010), is also misplaced. That order is a post-trial order
    setting forth findings of fact and conclusions of law relating to a redhibition claim brought by
    Louisiana, after a nine-day bench trial. The court did not consider removal jurisdiction in any



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                   5.      None Of The Purported Federal Issues Are Substantial In The
                           Relevant Sense.

           The lack of any “necessarily raised” federal issue in any of the State’s claims precludes a

    finding of removal jurisdiction and requires remand of this action to State court.                 But

    Defendants’ removal effort is flawed for another reason: none of the three purported federal

    issues is “substantial” in the relevant sense, i.e., important to the federal system as a whole.

           In Gunn, the central dispute concerned the experimental-use exception under federal

    patent law, specifically whether under the facts of the case the plaintiff could have defended a

    patent using this exception. 568 U.S. at 259. The Court found both that “resolution of a federal

    patent question is ‘necessary’ to” the case and that “[t]he federal issue is also ‘actually disputed’

    and, indeed, the ‘central point of dispute.’” Id. Notwithstanding the central role that federal

    patent law played in Gunn, federal question jurisdiction was lacking. For the federal question to

    be “substantial in the relevant sense,” it must be important “to the federal system as a whole.”

    Id. at 260. An example of a substantial question of importance to the federal system as a whole

    is presented in Grable, in which the federal government had a direct interest in vindicating its

    own administrative actions and the IRS’s ability to recover delinquent taxes through seizure and

    sale of property. A second example is a case in which federal government bonds were alleged to

    be of no validity, according to plaintiff’s theory that the federal government had acted

    unconstitutionally. See id. at 261 (discussing Smith v. Kansas City Title & Tr. Co., 255 U.S. 180


    way, and analyzed the unique elements of the redhibition cause of action, a creature of civil law
    that lives on in Louisiana’s mixed legal regime. As other courts have observed, the potential
    relevance of federal standards or regulations in analyzing causation under a redhibition theory
    provides no basis for concluding that other causes of action may raise essential federal issues.
    See Hawaii, 2014 WL 3427387, at *14 (“Here, unlike the Vioxx case, there is no cause of action
    for redhibition. The causes of action pled in the Complaint do not require interpretation of
    Medicaid regulations.”).




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    (1921)). Decisions jeopardizing the validity of IRS tax sales and federal government bonds meet

    the extremely-rare test because they affect the federal system as a whole. Without federal system

    jeopardy along these lines, the case is “poles apart” from satisfying Grable and the substantial

    federal question doctrine. See id. at 262 (“[t]he present case is ‘poles apart from Grable,’ in

    which a state court’s resolution of the federal question ‘would be controlling in numerous other

    cases.’”) (quoting Empire HealthChoice, 547 U.S. at 700).

           Thus, the test for substantiality under Gunn is extraordinarily narrow. Defendants have

    not and cannot cite any decision—much less any post-Gunn decision—that deems any federal

    issue that might arguably arise in the State’s case as substantially important to the federal system

    as a whole. In fact, the courts that have addressed this issue in the context of State actions

    against pharmaceutical companies accused of engaging in unfair and deceptive trade practices

    have concluded that there is no substantial federal question at issue. See, e.g., Hawaii, 2014 WL

    3427387, at *15 (observing that federal courts “consistently” conclude that “state law causes of

    action for unfair trade practices related to pharmaceutical drugs do not raise substantial questions

    of FDCA regulations”) (collecting cases); Oregon ex rel. Kroger v. Johnson & Johnson, 832 F.

    Supp. 2d 1250, 1256-57 (D. Or. 2011) (observing that “application of the FDCA regulatory

    regime is not a federal interest that requires the experience, solicitude, or uniformity provided by

    federal courts,” and that “there is no need in drug-related consumer protection cases” for the

    federal judiciary’s expertise).

           Moreover, federal issues are not substantial where the issues are “fact-bound.” Cooper v

    Int’l Paper Co., 912 F. Supp. 2d 1307, 1313 (S.D. Ala. Dec. 14, 2012); Meyer v. Health Mgmt.

    Assocs., Inc., 841 F. Supp. 2d 1262, 1269 (S.D. Fla. 2012). Here, whether Defendants violated

    their state-law duties, engaged in unlawful trade practices, or created a nuisance interfering with




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    rights of the New Mexico public will be proven through factual evidence. The State is not

    advancing or relying on a “pure issue of law.” Therefore, no issue in this case that might

    plausibly be described as federal in nature is “substantial” in the relevant sense.

                   6.      None Of The Purported Federal Issues Are Capable Of Resolution In
                           Federal Court Without Disrupting The Federal-State Balance
                           Approved By Congress.

           Exercising federal jurisdiction here would upset the balance between federal and state

    courts because allowing the Defendants to remove the State’s straightforward state law claims

    “to federal court based on a possibility that their resolution might touch upon federal law would

    disturb the balance articulated by the Supreme Court by allowing a broad category of

    traditionally state-law claims to be brought in a federal forum.” Earnest v. Great W. Cas. Co.,

    No. CV416-278, 2017 WL 4326576, at *4 (S.D. Ga. Sept. 29, 2017); Roberts v. TJX Cos., Inc.,

    No. 3-14-cv-746-J-39-MCR, 2015 WL 1062331, at *3 (M.D. Fla. Jan. 23, 2015) (remanding

    where, inter alia, “principles of comity weigh in favor of remand as Plaintiff’s [compliant] calls

    for interpretation of state law claims …, which are best suited for adjudication by a state court”).

    “Comity demands that [federal courts] step most carefully before ‘snatch[ing] cases which a

    State has brought from the courts of that State, unless some clear rule demands it.’” CVS

    Pharm., 646 F.3d at 179 (quoting Franchise Tax Bd., 463 U.S. at 21 n.22); see also Utah v. Eli

    Lilly & Co., 509 F. Supp. 2d 1016, 1025 (D. Utah 2007) (quoting same).                Thus in CVS

    Pharmacy, the court determined that where a State filed a case in state court, that State enjoys

    sovereign protection from “being involuntarily ‘dragged’ into” federal court. 646 F.3d at 178

    (citations omitted). This protection against removal applies with equal force here, and clearly

    illustrates that dragging New Mexico into federal court would disrupt the federal-state balance

    and violate principles of comity.




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           In reasoning that is equally availing here, the Preferred Care court explained that,

    “whereas Grable stemmed from the administrative action of a federal agency, this case is an

    enforcement suit by a state attorney general, such that principles of comity militate against

    permitting removal of this case to a federal forum.” 158 F. Supp. 3d at 1232 (citing Franchise

    Tax Bd., 463 U.S. at 21 n.22).

           Moreover, as noted above, the federal statutory and regulatory regimes invoked by

    Defendants in their Notice—including the FDCA and the FDA drug approval processes—supply

    no right of action. As the U.S. Supreme Court has explained, “the absence of a federal private

    right of action” in such statutes and regulations is “evidence” that Congress did not intend to

    permit claims requiring analysis or interpretation of issues under those statutes and regulations to

    create federal question jurisdiction. Grable, 545 U.S. at 318 (citing Merrell Dow, 478 U.S. at

    815-17). “Under these circumstances, the fact that Congress provided no private right of action

    in the [FDCA] presents compelling evidence that a finding of federal jurisdiction in the instant

    case would not be ‘consistent with Congressional judgment about the sound division of labor

    between state and federal courts.’” South Carolina, 2007 WL 2261693, at *3 (quoting Grable,

    545 U.S. at 313). Precisely the same reasoning holds here.

           B.      Defendants Cannot Clear The Still Higher Hurdle Where The Removal
                   Implicates State Sovereignty
           Just as in legions of other cases, 5 removal jurisdiction is lacking here because the State

    brings this action under its parens patriae authority and in its complaint alleges “specific state-


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     Purdue Pharma, 323 F. Supp. 3d at 1245-53; State of W. Virginia ex rel. Morrisey v. McKesson
    Corp., Civil Action No. 16-1772, 2017 WL 357307, at *8 (S.D.W. Va. Jan. 24, 2017); Hawaii,
    2014 WL 3427387, at *1, 3; In re Avandia, MDL No. 1871, 2012 WL 1137097, *1-3 (E.D. Pa.
    April 4, 2012); South Carolina ex rel. Wilson v. GlaxoSmithKline, LLC, C/A No. 7:11-cv-01475-
    GRA, 2011 WL 3678166, at *1-6 & 1 n.1 (D. S.C. July 22, 2011); South Carolina ex rel.
    McMaster v. Astra Zeneca Pharms. LP, Civil Action No. 7:09-387-HFF, 2009 WL 1227848, at



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    law causes of action” implicating state-law duties. 6 Moreover, “the delicate balance between

    federal and state considerations would be disturbed were [this] Court to exercise jurisdiction over

    this matter. … Clearly, the state interests involved, and the recovery of state funds heavily tilts

    the balance in favor of state adjudication.” 7 Here, no federal subject matter jurisdiction exists

    under the facts and controlling law here. Thus, this case is currently pending in a court lacking

    jurisdiction and it should be transferred back to State court.

                                              CONCLUSION
             For the foregoing reasons, the State respectfully requests that this Court promptly remand

    this action to the First Judicial District Court, County of Santa Fe, New Mexico.



    Dated: January 25, 2021
                                                          Respectfully submitted,

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    *1-6 (D. S.C. May 5, 2009); Pennsylvania v. Eli Lilly & Co., Inc., 511 F. Supp. 2d 576, 578-580
    (E.D. Pa. 2007); Mylan Labs., 2006 WL 1459772, at *1-4; Wisconsin v. Abbott Labs., 390 F.
    Supp. 2d 815, 818-25 (W.D. Wisc. 2005); Utah v. Eli Lilly & Co., 509 F. Supp. 2d 1016, 1019-
    20 (D. Utah 2007); Minnesota v. Pharmacia Corp., No. 05-1394 (PAM/JSM), 2005 WL
    2739297, at *1-5 (D. Minn. Oct. 24, 2005).
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        Purdue Pharma, 325 F. Supp. 3d at 1252 (quoting Morrisey, 2017 WL 357307, at *8).
    7
        Mylan Labs., 2006 WL 1459772, at *3.




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                   CERTIFICATION PURSUANT TO LOCAL RULE 7.1(A)(3)
           Pursuant to Local Rule 7.1(a)(3), the undersigned, on behalf of Plaintiff, conferred with

    all parties or non-parties who may be affected by the relief sought in the motion in a good faith

    effort to resolve the issues raised in the Motion and Defendants’ Lead Counsel indicated that

    they do not object to the State filing a Motion to Remand.


    Dated: January 25, 2021
                                                        Respectfully submitted,

                                                        GRANT & EISENHOFER P.A.

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                                   CERTIFICATE OF SERVICE
           I hereby certify that on January 25, 2021, I electronically filed the foregoing State of

    New Mexico’s Motion to Remand and Incorporated Memorandum of Law and this

    Certificate of Service using the CM/ECF system, which will send notification of such filings to

    all counsel of record who have appeared.



    Dated: January 25, 2021                            GRANT & EISENHOFER P.A.

                                                         /s/ Kyle J. McGee
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